









Dismissed and Memorandum Opinion filed November 24, 2004









Dismissed and Memorandum Opinion filed November 24,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00919-CV

____________

&nbsp;

RALPH DOUGLAS,
Appellant

&nbsp;

V.

&nbsp;

ALAMO TITLE
INSURANCE COMPANY, Appellee

&nbsp;



&nbsp;

On Appeal from the 157th District
Court

Harris County,
Texas

Trial Court Cause No.
02-53837

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed August 4, 2004.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On October 28, 2004, notification was transmitted to all
parties of the court's intention to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).&nbsp; Appellant
filed no response.








Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed November 24, 2004.

Panel consists of Chief Justice
Hedges and Justices Fowler and Seymore.

&nbsp;





